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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DAVID LEIBOWITZ, et al.,
                              Plaintiffs,             19 Civ. 9236 (KPF)
                       -v.-
                                                            ORDER
IFINEX INC., et al.,

                              Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of the motion to withdraw filed by counsel for

Defendant Reginald Fowler on December 11, 2020. (Dkt. #159). The parties

are hereby ORDERED to appear for a videoconference to address this matter on

December 17, 2020, at 2:00 p.m. Information for accessing the conference

will be distributed in advance of the conference.

      SO ORDERED.

Dated:       December 14, 2020
             New York, New York             __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge
